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                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                               Norfolk Division

   CSX TRANSPORTATION, INC.,            )
                                        )
                          Plaintiff,    )
                                        )
   v.                                   )
                                        )
   NORFOLK SOUTHERN RAILWAY             )
   COMPANY, et al.,                     )          Case No. 2:18-cv-530
                                        )
                          Defendants.   )
                                        )
                                        )
                                        )



              DEFENDANT NORFOLK SOUTHERN RAILWAY COMPANY’S
            BRIEF IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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   Exhibit Description                       Citation                        Confidentiality
     1     NPBL Operating Agreement,         NSR_00104139                    Confidential
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     2     Deposition Excerpt - Cannon       30:12-18; 35:2-23; 49:22-       Confidential
           Moss                              50:3; 52:9-25, 58:2-6; 60:4-
                                             61:25; 62:1-13; 113:01-         52:9-21; 58-2-6;
                                             113:07; 114:7-16; 193:11-       60:4-61:25; 62:1-
                                             24; 202:14-18; 234:12-20;       13
                                             242:10-17; 242:21-22;
                                             244:2-15; 244:25-245:1;
                                             250:16-21; 287:25-288:9;
                                             291:21-24; 291:25-292:7
     3     NPBL Supplemental Agreement,      CSXT0086318
           March 1, 1989
     4     Deposition Excerpt – Ken Joyner   25:1-3; 19:7-20:9; 128-
           (as 30(b)(6) witness)             129:19;
     5     Deposition Excerpt – Rob          41:13-20; 184:12-25; 99:18- 112:7-113:1
           Girardot (first individual        99:24; 64:17-20; 64:21-      (AEO)
           deposition)                       65:10
                                             77:25-78:3; 217:5-12; 60:16-
                                             22; 62:7-17; 112:2-113:1
     6     Deposition Excerpt – Rob          34:4-6, 35:19-36:7; 28:13-
           Girardot (as 30(b)(6) witness)    16; 143:22-144:2; 138:17-19
     7     Prof. Marvel Report               ¶¶ 10, 12, 16-17                AEO
     8     Deposition Excerpt – Strongosky   45:14-47:1; 62:21-63:23;        AEO:
           (first deposition)                64:24-65:5; 69:15-70:1;         127:3-128:12;
                                             72:22-73:3; 83:05-83:13;        212:1-6; 129:4-
                                             89:21-90:4; 104:13-15;          22; 104:13-15
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                                             22;127:3-128:12; 195:2-9;
                                             212:1-6                         Confidential:
                                                                             89:21-90:4

     9     Deposition Excerpt – Jeffery      36:18-21; 257:7-258:8;          Confidential
           Heller (first deposition)         248:3-249:9
     10    Wright Report                     ¶¶ 21, 37, 59, 61, 66-67, 70,   AEO
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   Exhibit Description                       Citation                       Confidentiality
     11    Deposition Excerpt – Kenney       23:13-23, 28:21-23; 41:20-     AEO:
           (first deposition)                42:1, 47:12-21; 64:11-65:12;   117:5-15; 64:11-
                                             117:5-15;141:17-20             65:12; 23:13-23;
                                                                            141:17-20; 141-
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     12    Deposition Excerpt – Piacente     73:24-74:23; 86:7-16; 89:23-
                                             90:11
     13    April 21, 2014 National Gateway   CSXT0000897, at Slide 7        AEO
           & Virginia Avenue Tunnel: A
           Path Forward
     14    10-29-2015 Email re: Intl         CSXT0001792 at -794            AEO
           contracts
     15    Port Strategy Review –            CSXT0124777 at -778            AEO
           Intermodal
     16    Deposition Excerpt – Chris        60:05-60:08
           Luebbers (first deposition)
     17    Deposition Excerpt – Capozzi      74:24-75:5; 105:1-6; 100:23- Confidential
                                             101:13, 193:24-194:6; 116-   (entire transcript)
                                             9-117:8; 172:23-173:9; 186-
                                             187:2; 187:15-188:2;
                                             187:20-23; 220:23-221:2;
     18    Deposition Excerpt – Dr. Rob      31:20-21; 31:24-32:4           AEO
           Martinez
     19    Deposition Excerpt – Anthony      42:3-6, 73:20-25; 91:18-       AEO:
           MacDonald                         92:5; 92:21-93:1, 97:7-17;     134:16-135:9;
                                             112:6-10; 121:4-9; 131:8-      773:20-25;
                                             133:3 134:16-135:9; 142:6-     142:6-8; 131:8-
                                             19; 144:20-25; 179:15-         17;     132:2-3;
                                             180:9; 189:17-20;              132:12-16;
                                                                            132:23:133:3
     20    CSX CMA Virginia Options –        CSXT0037049 at Slide 4         AEO
           Mar. 31, 2015
     21    Deposition Excerpt – Hall         33:20-22                       Confidential
     22    Deposition Excerpt – Eliasson     81:6-9; 49:22-50:2; 130:24-
                                             131:14; 87:5-9
     23    Dec. 12, 2016 Email from T.       CSXT0050615 at -615            AEO
           MacDonald to K. Manz re: Port
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   Exhibit Description                          Citation                   Confidentiality
     24    Deposition Excerpt – Tony DiDeo 192:22-193:10                   Confidential
     25    Mar. 1, 2011 Letter from J. Yates    CSXT0126579 at -579        Confidential
           to D. Stinson
     26    Mar. 31, 2015 Email from T.    CSXT0001301                      Confidential
           MacDonald to M. Kenney re: NIT
           Train
     27    Deposition Excerpt – Cary Booth      87:17-88:7                 Confidential
     28    Mar.20, 2017 Email from R.           CSXT0117504 at -504        AEO
           Girardot to T. Hart re: ZIM-
           Norfolk NIT Activity
     29    Operation Plan, May 2010             NSR_00306428 at -429       Confidential
     30    Mar. 27, 2015 Email from C.          CSXT0001276 at -276        AEO
           Matter to T. MacDonald re:
           NPBL to NIT
     31    CSX Operation Plan, May 20,          NPBL013648 at -649
           2010
     32    Deposition Excerpt – Vick            27:25-28:8; 75:23-76:4;    Confidential
                                                74:23-76:4; 48:17-49:6
     33    Apr. 18, 2019 Email from T.          CSXT0074449 at -449        AEO
           Capozzi to J. Strongosky re:
           MISC and increased volume
     34    May 13, 2019 Email from T.           CSXT0074914 at -915        AEO
           Capozzi to C. Warren re: setting
           up CSX for growth at POV
     35    Deposition Excerpt – Carl Warren 122:9-17; 72:12-73:5           AEO: 122:9-17
     36    Nov. 16, 2016 Email from L.          CSXT0049507 at -508        Confidential
           Creech to T. MacDonald re: CSX
           visit to Norfolk on Nov. 22
     37    Mar. 1, 2019 Email from A.           CSXT0073025 at -027        AEO
           Beazley to R. Girardot re: Port of
           VA Questions/Issues UPDATE
     38    Aug. 8, 2018 Email from C.           CSXT0067839 at -840        AEO
           Warren to S. Davis re: VPA
           Meeting
     39    Deposition Excerpt – Houfek          19:13-20:4; 19:14-20:25;
                                                141:7-16



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   Exhibit Description                         Citation                   Confidentiality
     40    Dec. 15, 2017 Email from R.         CSXT0063241 at -241        AEO
           Girardot to W. Barton re: NY to
           Pittsburgh
     41    Oct. 10, 2018 Email from J.         CSXT0069501 at -501        AEO
           Strongosky to M. Kenney re:
           West vs. East Breakdown
     42    Dec. 1, 2014 Email from C.          CSXT0034771 at -771-72     AEO
           Warren to D. Smith re:
           Intermodal rates to the Midwest
     43    May 26, 2016 Email from R.          CSXT0045124 at -124        AEO
           Girardot to J. Tuttle re: Inland
           pricing via Baltimore
     44    Jan. 11, 2018 Email from D.         CSXT0003542                AEO
           Piacente to R. Girardot re: One
           Pre-call discussion and then call
           with One to discuss bid status
     45    May 27, 2015 Email from B.          CSXT0038547 at -747        AEO
           McGlone to J. Strongosky re:
           Yang Ming
     46    Jun. 4, 2014 Email from C.          CSXT0032388 at -388        AEO
           Warren to T. Biscan re: VIT
     47    Aug. 1. 2016 to B. Kobza to B.      CSXT0046487 at -488        AEO
           McGlone re: WCSAM service
           dropping NY and calling
           Philadelphia
     48    Oct. 23, 2010 Memo from M.          NSR_00026305 at -305       AEO
           McClellan and J. Heller to D.
           Seale re: International Contract
           Strategy – 24 months
     49    Deposition Excerpt – Rob            58:7-59:19                 AEO
           Girardot (second individual
           deposition)
     50    Draft Howard Street Tunnel CSX      CSXT0159821 at Slide 4-5   AEO
           Value Buckets
     51    Apr 30, 2015 Email from T.          CSXT0038161 at -161        AEO
           Biscan to J. Strongosky re: CMA
           CSX




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   Exhibit Description                         Citation                   Confidentiality
     52    Oct. 7, 2015 Email from R.          CSXT0040736                Confidential
           Houfek to G. Van Tassel fwd.
           Oct. 5, 2015 Email to W. Wilby
           re: CSX lift agreement
     53    Jan. 19, 2017 Email from B.         CSXT0052080 at -802-083    AEO
           McGlone to S. McGhahey re:
           “What If” from Maersk
     54    Feb. 19, 2019 Email from T.         CSXT0072702 at -702;       AEO
           Capozzi to J. Strongosky re: MSC
     55    Feb. 1, 2018 Email from R.          CSXT0003625 at -625; -     AEO
           Girardot to S. Baker re: Imports    627-28
     56    Deposition Excerpt – Kendall        29:16-30:1;
                                               33:14-34:14
     57    Meeting with VPA and CSX,           VPA000793
           May 19, 2010
     58    Joseph Bonney, “CSX Raises the
           Roof,” JOC.com, Oct. 18, 2010
     59    CSX NIT Access Discussion           CSXT0003603                AEO
     60    CSX Network and Terminal            CSXT0074939 at Slide 3     AEO
           Expansions Support Growth
     61    NS & CSX Schedule                   CSXT0165126                Confidential
     62    2013 Norfolk Southern East Coast NSR_00000912                  AEO
           Port Review
     63    CSX NIT Discussion                  CSXT0003592 at Slide 11    AEO
     64    Oct. 12, 2016 Draft Letter to T.    CSXT0096239                AEO
           Capozzi
     65    CSX International Market Share      CSXT0046841 at Slide 8     AEO
     66    Deposition Excerpt – Strongosky     70:17-71:3; 18:10-19:16;
           (second deposition)                 32:15-18
     67    Mar. 5, 2018 Letter from D.         CSXT0159246 at -246-247    AEO
           Piacente to Alexis/Michael
     68    CSX ZIM Integrated Shipping         CSXT0052366 at Slide 9     AEO
           Services, Nov. 10, 2016
     69    CSX International Market Share      CSXT0024736 at -736        AEO
     70    Deposition Excerpt – Marvel         33:25-34:3; 33:13-23;      AEO
           (expert deposition)                 92:4-15; 102:12-24

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   Exhibit Description                         Citation                       Confidentiality
     71    Marvel Reply Report                 ¶¶ 40; 43, 124, Ex. 1;         AEO
     72    May 6, 2014 Email from B.           CSXT0032082                    AEO
           McGlone to T. Biscan re:
           Crowley Threads Meeting Results
           4/30
     73    Deposition Excerpt – Michael        22-23; 119:4-120:18, 151
           McClellan (first deposition)
     74    Port of Baltimore – Port Review,    CSXT0159556 at -565            AEO
           Jan. 24, 2018
     75    Intermodal Activity Report Week     NSR_00041595 at -597           AEO
           Ending 8-4-2017
     76    Heartland Corridor Overview          NS_00001839 at -840           AEO
     77    Sept. 7, 2017 Email from J.         CSXT0097850 at -850            AEO
           Strongosky to R. Giardot re:
           Syracuse inland Port
     78    Mar. 2, 2018 Letter from J. Aihie   CSXT0159221 at -221            AEO
           to M. Martinez
     79    Norfolk and Portsmouth Beltline     NPBL000220
           Railroad Company Tariff NPB
           8100-J
     80    Deposition Excerpt – Michael        17:18-18:4; 117:14-118:7       Confidential
           Wheeler
     81    Deposition Excerpt – James Allan    93:7-94:11, 117:1-7;           Confidential:
                                               75:16-17, 90:4-7;              131:9-18; 135:6
                                               131:9-12, 15-18, 135:6
     82    Deposition Excerpt – Stinson        128:8-22; 158                  Confidential
     83    Deposition Excerpt – Donna          39:17-40:6; 47:10-15; 87:13-
           Coleman                             16; 91:11-12; 104:6-8
     84    NPBL Board Minutes, Apr. 9,         NPBL006936 at -957
           2008
     85    NPBL Board Minutes, Oct. 5,         NPBL007095
           2009
     86    Eliasson E-Mail (Feb. 14, 2011)     CSXT0004190                    Confidential
     87    NPBL Board Minutes, Dec. 19,        CSXT0000001 at -005            Confidential
           2007




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   Exhibit Description                       Citation                     Confidentiality
     88    NPBL Board Minutes, Dec. 15,      CSXT0125260                  Confidential
           2009
     89    Crowley Report                    5, Tbl. 1, 6 n.11 & Ex. 3    AEO
                                             4 n.8; 23
     90    Deposition Excerpt – Tony         169:2-6
           Ingram
     91    CSX’s 2010 Proposal               NPBL007431
     92    Deposition Excerpt – John Booth   248:10-249:8; 69, 72, 123-
                                             24
     93    CSX’s proposed contract           CSXT0109886                  Confidential
     94    NPBL Board Minutes, Apr. 2011     NPBL017933 at -938           Confidential
     95    NPBL Stockholder Minutes, Apr.    CSXT0000262                  Confidential
           2011
     96    Ryan Houfek Email Regarding       CSXT0082577                  AEO
           NPBL Rate Not Being “Too
           Onerous”
     97    June 1, 2015 email exchange       CSXT0001537                  Confidential
           between NPBL and VIT
     98    NPBL 2018 Annual Report           NPBL026348                   Confidential
     99    NPBL 2019 Annual Report           NPBL027926                   Confidential
     100   Notice of Trackage Cancelation    CSXT0044428                  Confidential
     101   Moss Email, Aug. 27, 2018         NPBL005850
     102   CSX Resp. NPBL’s Req. Admis.                                   Confidential
           Nos. 5 & 8
     103   CSX Resp. NPBL’s Req. Admis.                                   Confidential
           No. 3
     104   Privilege Log Excerpt (filtered
           Michael Burns)
     105   CSX’s 2018 Rate Proposal          CSXT0100329                  Confidential
     106   Apr. 2, 2018 Email from J.        CSXT0119620                  AEO
           Swafford to M. Burns re: Rate
           Proposal for Long Term
           Intermodal service to NIT




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   Exhibit Description                         Citation             Confidentiality
     107   April 5, 2018 Email from C. Moss NPBL006228
           to T. DiDeo re: Rate Proposal for
           Long Term Rail Service to NIT
     108   NPBL Board Minutes, Apr. 2018       NPBL000745           Confidential
     109   Deposition Excerpt – Merilli        55:2-8; 55:13-56:3   Confidential
     110   Deposition Excerpt – Armbrust       214:15-21
     111   CSX’s 2018 Governance Proposal CSXT0100552               Confidential
     112   NPBL Shareholder Minutes, Apr.      CSXT0149075          Confidential
           18, 2018
     113   Moss Ltr. Sept. 11, 2018            NSR_00073843         Confidential
     114   Eliasson and Armbrust Memo          CSXT0025521          AEO
     115   NPBL Board Minutes, Sept. 4,        NPBL019887           Confidential
           2009
     116   MacDonald Email Re: NIT Train       CSXT0001301          Confidential
     117   Mar. 2, 2011 Letter Re: Operating   CSXT0126579          Confidential
           Window
     118   CSX 2d Supp. Resp. NPBL’s                                Confidential
           Interrog. No. 4
     119   CSX’s 2d Suppl. Resp. NS’s 1st                           Confidential
           Interrog. 3
     120   CSX’s 4th Suppl. Rule 26(a)(1)
           Disclosures
     121   Chart of Documents Identified by
           CSX in its 2d Supp. Resp.
           NPBL’s Interrog. No. 3




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                             GLOSSARY OF WITNESSES

         NAME           PARTY                               POSITION
   James Allan        CSX             Former Director of Network, Joint Facilities
   Steven Armbrust    CSX             Assistant General Counsel; NPBL Board Member
                                      from April 2010 until June 2015
   Cary Booth         NS              Former Assistant Vice President of Intermodal and
                                      Automotive Operations
   John Booth         CSX             Former Director Joint Facilities, Service Design, and
                                      Network Planning; member of 2009 NPBL rate
                                      committee
   Thomas Capozzi     Virginia        Chief Sales Officer
                      International
                      Terminals
   Donna Coleman      NPBL            Vice President
   Tony DiDeo         CSX             Director, Intercarrier Management
   Fredrik Eliasson   CSX             Former Chief Sales and Marketing Officer, NPBL
                                      Board Member from April 2010 until the fall of 2011
   Robert Girardot    CSX             Director-Strategy & Analytics; CSX Rule 30(b)(6)
                                      witness
   Jerry Hall         NS              Former Vice President of Transportation; NPBL
                                      Board Member from February 2018 until November
                                      2018
   Jeffrey Heller     NS              Vice President, Intermodal & Automotive
   Ryan Houfek        CSX             Former Assistant Vice President Sales, Assistant Vice
                                      President Marketing
   Tony Ingram        CSX             Former Chief Operations Officer; NPBL Board
                                      Member from 2009 until 2010
   Kenneth Joyner     NS              Group Vice President International Intermodal
   Quintin Kendall    CSX             Former Vice President, State Government and
                                      Community Affairs; NPBL Board Member from April
                                      2012 until January 2018
   Maryclare Kenney   CSX             Vice President of Intermodal and Automotive
   Chris Luebbers     NS              Director of Intermodal Yield; member of 2009 NPBL
                                      rate committee




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          NAME           PARTY                              POSITION
   Tony MacDonald      CSX             Former Portsmouth Terminal Manager, CSX
                                       Intermodal Terminals, Inc.
   Robert Martinez,    NS              Vice President Business Development & Real Estate
   Ph.D.
   Howard P. Marvel,                   CSX Expert Witness
   Ph.D.
   Michael McClellan   NS              Vice President of Strategic Planning
   Philip Merilli      NS              Former Vice President of Engineering; NPBL Board
                                       Member from December 2015 until April 2019
   Cannon Moss         NPBL            President and General Manager
   Dean Piacente       CSX             Former Vice President of Industrial Products
   David Stinson       NS              Division Superintendent; NPBL President and
                                       General Manager from 2008 until 2011
   Jay Strongosky      CSX             Director, Sales & Marketing, Intermodal
   Catherine Vick      Virginia Port   Chief Development and Government Affairs Officer
                       Authority
   Michael Wheeler     NS              Former Chief Operating Officer; NPBL Board
                                       Member from March 2010 until December 2015
   Matthew Wright,                     NS Expert Witness
   Ph.D.




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         Defendant Norfolk Southern Railway Company (“NS”), by counsel and pursuant to Rule

  56 of the Federal Rules of Civil Procedure, submits the following brief in support of its Motion

  for Summary Judgment on all claims of Plaintiff CSX Transportation, Inc. (“CSX”). For the

  following reasons,1 NS’s Motion should be granted.

                                          INTRODUCTION

         CSX levels a serious, but false, charge. CSX is a Class 1 railroad serving half of the

  country, with over $10 billion in annual revenue. CSX claims that, for more than a decade,

  Defendants have blocked CSX from having rail access to the docks at a single ocean shipping port

  terminal in Virginia—Norfolk International Terminal (“NIT”)—and that CSX’s inability to move

  international intermodal shipping containers directly from that terminal by rail has resulted in harm

  reverberating through its entire business

        . But, in reality, CSX does have rail access to NIT via the Norfolk and Portsmouth Beltline

  Railroad Company (“NPBL”), and NPBL has never refused to move CSX’s freight. CSX has

  chosen to move its intermodal containers to and from NIT by truck instead of by rail




  These undisputed facts lay plain that this case is not about CSX being blocked from NIT. Rather,

  this case is about CSX’s desire to avoid paying the going rate to access NIT by rail, namely

  NPBL’s uniform $210 switch rate for rail traffic—a rate that any user of NPBL must pay; a rate




  1
    NS also adopts and incorporates the arguments made in NPBL’s brief that are readily transferable
  to NS. U.S. ex rel. LaCorte v. SmithKline Beecham Clinical Lab’ys, Inc., 149 F.3d 227, 237–38
  (3d Cir. 1998) (recognizing incorporation of “readily transferrable” arguments between parties).
  This includes all arguments regarding the lack of any conspiracy between NPBL and NS, whether
  antitrust, business conspiracy, or civil conspiracy. NPBL’s arguments equally apply to NS as the
  alleged other party to the conspiracy and are, thus, properly subject to adoption and incorporation.
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  that CSX has in fact paid without complaint on other portions of NPBL not at issue here; and a

  rate that has since 2010 barely covered NPBL’s operating costs. Though the available tariff rate

  is eminently justified, CSX seeks to use this lawsuit and the threat of treble antitrust damages to

  extract a special deal from NPBL that is well below the rate that NPBL’s Operating Agreement

  requires it to charge.

          In view of the undisputed facts, Defendants are entitled to summary judgment on all of

  CSX’s claims.       As a threshold matter, well-established statute of limitations precedent

  demonstrates that CSX’s claims are time-barred, or at minimum must be substantially narrowed

  on that basis. Additionally, CSX’s ill-conceived antitrust claims fail for a number of independent

  reasons. First, CSX has gerrymandered its proposed relevant market—a required element for all

  of the antitrust claims—around its own circumstances rather than by reference to actual

  competitive conditions, ignoring that (a) trucking containers from port to destination is an

  alternative to moving them by rail for ocean carriers; and (b) ocean carriers can move intermodal

  containers through other terminals and ports to their ultimate destination.         Second, CSX’s

  monopolization and attempted monopolization claims fail because CSX cannot satisfy the

  elements of the essential facilities claim it presses here. Third, CSX’s conspiracy-based antitrust

  claims fail because there is no conspiratorial agreement, and under the “rule of reason,” CSX

  cannot prove the requisite substantial anticompetitive effect. CSX’s state law claims fare no better,

  and likewise cannot survive summary judgment for a litany of reasons, including because (1) NS

  assisted NPBL with moving CSX’s intermodal trains to NIT in 2015, and (2) NS had no obligation

  to accept or consider CSX’s 2018 request for a special low switch rate or corporate governance

  proposal. For these reasons, this Court should grant NS’s Motion and dismiss CSX’s claims.




                                                   2
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                    STATEMENT OF UNDISPUTED MATERIAL FACTS

         A.      The Parties

         1.      NS and CSX are Class 1 railroads that operate in the eastern United States and

  Canada. (ECF No. 66, at 2.)

         2.      NPBL is a terminal switching railroad founded in 1896 by eight railroads that

  operates in the cities of Norfolk, Portsmouth, and Chesapeake, Virginia. (Compl. ¶ 1). NPBL’s

  business and affairs are governed by an Operating Agreement, dated July 7, 1897 (the “Operating

  Agreement”). (Ex. 1, NSR_00104139). NPBL’s primary business is to interchange, or switch,

  freight cars for other railroads, primarily its owners. Id. NPBL takes cars tendered by other

  railroads and delivers them to locations on its rail line, or vice-versa. (Ex. 2, Moss Dep. 30:12-

  18).

         3.      Following mergers and acquisitions among the original nine railroads, the number

  of shareholder railroads eventually was reduced to only CSX, Norfolk and Western Railway

  Company (“NW”), and Southern Railway Company (“SR”). (Compl. ¶ 2). By Supplemental

  Agreement dated March 1, 1989, CSX, NW, and SR amended the Operating Agreement to allow

  CSX to appoint two NPBL board members and NW and SR to collectively appoint three board

  members. (See Ex. 3, CSXT00863182). NW and SR’s merger left NS and CSX as the sole

  shareholders of NPBL, with 57% and 43% respective ownership interests. (Compl. ¶ 23).

         B.      NS and CSX compete for international intermodal container business.

         4.      NPBL is not a competitor to either NS or CSX. (Ex. 4, Joyner 30(b)(6) Dep. 25:1-

  3; Ex. 5, Girardot (first) Dep. 41:13-20; Ex. 6, CSX Corp. Rep. Dep. 34:4-6, 35:19-36:7; Ex. 7,

  Marvel Rep. ¶¶12, 16-17; Ex. 8, Strongosky (first) Dep. 72:22-73:3).


  2
    In 1989, NW and SR had legally merged following ICC approval of the Merger in 1982 but were
  still working through the operational merger. ECF No. 116, at 1.


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         5.      NS and CSX vigorously compete for the transportation of international intermodal

  containers delivered to or from ports on the East Coast. (Ex. 9, Heller Dep. (first) 36:18-21).

         6.      “International intermodal traffic” refers to the transportation of cargo containers

  that are either imported to or exported from the United States and use more than one mode of

  transportation on a single trip from origin to destination. (Ex. 10, Wright Rep. ¶ 21).

         7.      Railroads often utilize “double-stacked” trains to move intermodal containers. A

  double-stacked train can hold up to three containers in a single well, as opposed to a single-stacked

  train that can hold only one container per well. (Ex. 5, at 184:12-25).

         8.      CSX executives acknowledge that double-stacked trains double a railroad’s train

  capacity and create cost and operational efficiencies. (Ex. 11, Kenney (first) Dep. 41:20-42:1,

  117:5-15; Ex. 8, at 45:14-47:1, 148:17-149:19; Ex. 12, Piacente Dep. 73:24-74:23; Ex. 13,

  CSXT0000897 at Slide 6; Ex. 14, CSXT0001792 at -794; Ex. 15, CSXT0124777 at -778).

         C.      The Port of Virginia

                 1.      The Port of Virginia has operated three terminals.

         9.      Until May 2020, the Port of Virginia (“POV”) had three terminals supporting

  international intermodal traffic, Virginia International Gateway (“VIG”), Portsmouth Marine

  Terminal (“PMT”), and Norfolk International Terminals (“NIT”).3 (Ex. 7, at ¶ 23).

         10.     At VIG, CSX and NS have on-dock access via the Commonwealth Railway

  (“CWRY”), a short-line railroad. (Ex. 5, at 99:18-99:24; Ex. 16, Luebbers Dep. (first) 60:05-

  60:08). In 2019, VIG completed an expansion project and can now offer roughly the same capacity

  as NIT at 1.2 million containers annually. (Ex. 17, Capozzi Dep. 220:23-221:2; Ex. 10, at ¶ 119).

         11.     At PMT, NPBL owns the tracks leading to the terminal, which is located next to


  3
    These three terminals—NIT, VIG, and PMT—are sometimes collectively referred to as the
  “Hampton Roads ports” or the “Hampton Roads terminals.” Id.


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  CSX’s Portsmouth Intermodal Yard. (Ex. 10, at ¶ 37). When operational, PMT could handle

  approximately 200,000 containers per year. (Id. at ¶ 116).

         12.     CSX had on-dock access to PMT through trackage rights over NPBL’s tracks while

  PMT was operational. (Ex. 17, at 74:24-75:5). NS had on-dock access at PMT by using NPBL

  and paying NPBL the uniform switch rate. (Ex. 2, at 113:01-113:07).

         13.     PMT was temporarily shuttered between 2010 and 2014. PMT was shuttered again

  in 2020 and remains closed today. (Ex. 17, at 172:23-173:19; Ex. 10, Tbls. 5 & 6).

         14.     At NIT, NS has on-dock access via tracks that it owns. (Ex. 18, Martinez Dep.

  31:20-32:04). NPBL has trackage rights over NS’s tracks. Id.

         15.     CSX has rail access to the on-dock facilities at NIT via NPBL, provided that CSX

  pays the NPBL switch rate. (Ex. 19, MacDonald Dep. 42:3-6, 134:16-135:9; Ex. 8, at 195:2-9;

  Ex. 20, CSXT0037049 at Slide 4; Ex. 21, Hall Dep. 33:20-22, Ex. 22, Eliasson Dep. 81:6-9; Ex.

  23, CSXT0050615 at -615).

         16.     A railroad seeking access to NIT must coordinate an available operating window

  with NS.     (Ex. 24, DiDeo Dep. 192:22-193:10; Ex. 25, CSXT0126579 at -579; Ex. 26,

  CSXT0001301; Ex. 9, at 257:7-258:8; Ex. 27, C. Booth Dep. 87:17-88:7).

         17.     NS and NPBL trains enter and move through NIT in different directions, meaning

  that two trains cannot be on the tracks at the same time. (Ex. 19, at 92:21-93:1, 121:4-9; Ex. 28,

  CSXT0117504 at -504). NS enters NIT through the southern main gate and travels in a continuous

  clockwise fashion as it moves into NIT, loads containers, and then exits NIT’s northern back gate.

  (Ex. 19, at 91:18-92:5). NPBL has trackage rights that allow it to enter and exit NIT through the

  northern back gate. (Ex. 29, NSR_00306428 at -429; Ex. 30, CSXT0001276 at -276). This

  requires NPBL to leave NIT through the same gate in which it enters. (Ex. 31, NPBL013648 at -




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  649; Ex. 19, at 97:7-17).

                 2.      VIT directs ocean carriers where to dock.

         18.     Virginia International Terminals, Inc. (“VIT”) is the private terminal operating

  subsidiary of the Virginia Port Authority (“VPA”) that operates the POV. (Ex. 17, at 105:1-6; Ex.

  32, Vick Dep. 27:25-28:8).

         19.     VIT actively manages port operations at the POV




         20.




                 3.      The Port of Virginia competes against other ports.

         21.     Ports compete with one another for international intermodal “discretionary cargo,”

  which is cargo that can move through more than one port to its ultimate destination. (Ex. 17, at

  186:4-187:2; Ex. 15, CSXT0124777 at -777).

         22.     Ports along the West Coast of the United States compete with ports along the East

  Coast of the United States for discretionary international intermodal traffic for some origins and

  destinations, particularly in the Midwest. (Ex. 8, at 62:21-63:23; Ex. 11, at 29:20-30:11; Ex. 12,

  at 89:23-90:11; Ex. 39, Houfek Dep. 19:13-20:4; Ex. 40, CSXT0063241 at -241; Ex. 41,

  CSXT0069501 at -501; Ex. 42, CSXT0034771 at -771-72; Ex. 43, CSXT0045124 at -124).

         23.     The inland locations for which the POV has the greatest natural shipping advantage

  over other ports tend to be origins and destinations locations close to the port itself. (Ex. 10, at

  ¶ 70; Ex. 39, at 19:14-20:25).


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         24.     The POV competes with Canadian ports and with the ports of Baltimore,

  Philadelphia, Savannah, Jacksonville, Charleston, and New York/New Jersey (“Port of NY/NJ”)

  for discretionary international intermodal traffic. (Ex. 17, at 187:15-188:2; Ex. 19, at 112:6-10;

  Ex. 20, at Slide 7; Ex. 44, CSXT0003542; Ex. 45, CSXT0038547 at -747; Ex. 15, at -777).

         25.     CSX and NS consider how pricing affects an ocean carrier’s decision to call at

  various ports. (Ex. 46, CSXT0032388 at -388; Ex. 8, at 127:3-128:12; Ex. 47, CSXT0046487 at

  -488; Ex. 48, NSR_00026305 at -305; Ex. 9, at 117:6-13).




                 4.     CSX has a competitive advantage at the Port of New York/New Jersey.

         26.     The POV’s main competitor for discretionary international intermodal cargo is the

  Port of NY/NJ, which is the East Coast port with the largest intermodal container business. (Ex.

  10, at ¶ 73; Ex. 17, at 187:20-23; Ex. 5, at 77:25-78:3; Ex. 8, at 212:1-6; Ex. 53, CSXT0052080

  at -802-083; Ex. 54, CSXT0072702 at -702; Ex. 46, CSXT0032388 at -388; Ex. 15,

  CSXT0124777 at -777).

         27.     The Port of NY/NJ is the first port of call on the East Coast for many ocean carriers,

  providing it with a speed-to-market advantage over the POV when serving overlapping inland

  destinations such as the Midwest. (Ex. 10, at ¶ 73; Ex. 32, at 75:23-76:4; Ex. 40, at -241; Ex. 55,

  CSXT0003625 at -625).

         28.     CSX has long prioritized the Port of NY/NJ as its main port for international

  intermodal traffic services.   (Ex. 10, at ¶ 74; Ex. 56, Kendall Dep. 29:16-30:1; Ex. 57,


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  VPA000793; Ex. 58, Joseph Bonney, “CSX Raises the Roof,” JOC.com, Oct. 18, 2010, available

  at https://www.joc.com/maritime-news/csx-raises-roof_20101018.html (“You hear a lot about the

  Heartland Corridor. My statement is, ‘Bring them on.’ We can handle them here in New Jersey

  and beat them head-on, straight up every day.” (quoting Clarence Gooden, CSX’s executive vice

  president and chief commercial officer)); Ex. 59, CSXT0024736 at -736).




         30.    CSX reaches the same major Midwest locations through the Port of NY/NJ that NS

  serves through the POV, including Chicago, Cleveland, Cincinnati, Columbus, Detroit, Louisville,

  Kansas City, and St. Louis. (Ex. 62, NSR_00000912 at Slide 21; Ex. 63, CSXT0003592 at Slide

  11; Ex. 60, at Slides 3-4; Ex. 64, CSXT0096239).

         31.




                5.      NS has a Competitive Advantage at the Port of Virginia.

         33.    NS completed its “Heartland Corridor” project in 2010, which gave NS double-

  stack service through the POV and the fastest and most direct routes to Midwest destinations from

  the POV. (Ex. 76, NS_00001839 at -840; Ex. 73, McClellan Dep. 22-23, 151).




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         34.     CSX did not achieve double-stack capabilities from the POV until December 2016

  when the Virginia Avenue Tunnel construction was completed, part of the National Gateway

  project. (Ex. 5, at 217:5-12; Ex. 12, at 73:24-74:6; Ex. 68, CSXT0052366 at Slide 9; Ex. 69,

  CSXT0024736 at -736).




         35.




                 6.     Trucks compete against railroads for traffic at the POV.

         36.     Between 2012 and 2019, trucks accounted for 60%-65% of all international

  intermodal traffic through the POV. (Ex. 10, at ¶ 59, Chart 1).

         37.     CSX and POV officials confirm that trucks and rail compete most closely for

  international intermodal traffic movements of up to 200 miles. (Ex. 71, Marvel Reply Rep. ¶ 40;

  Ex. 12, at 86:7-16; Ex. 5, at 60:16-22; Ex. 35, at 72:12-73:5; Ex. 32, at 48:17-49:6; Ex. 72,

  CSXT0032082 at -082).

         38.     CSX and NS executives confirm that trucks and rail also compete for international

  intermodal movements between 200 and 500 miles, and in certain circumstances, for movements

  longer than 500 miles. (Ex. 8, at 112:8-24; Ex. 73, at 119:4-120:18; Ex. 5, at 62:7-17; Ex. 11, at

  47:12-21; Ex. 70, at 33:13-23; Ex. 74, CSXT0159556 at -565; Ex. 4, at 19:7-20:9; Ex. 10, at ¶ 61;

  Ex. 75, NSR_00041595 at -597; Ex. 40, at -241; Ex. 45, at -747).

         39.




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          40.     Both NS and CSX set at least some of their international intermodal rates in order

  to remain competitive with trucks. (Ex. 10, at ¶¶ 66-67; Ex. 40, at -241; Ex. 8, 120:4-22; Ex. 9, at

  248:3-249:9; Ex. 72, at -082; Ex. 77, CSXT0097850 at -850; Ex. 5, at 112:2-113:1).




          41.     Through CSX’s Highway To Rail (“H2R”) program, CSX actively seeks to convert

  trucking of international intermodal traffic to rail movement of those containers by CSX. (Ex. 11,

  at 64:11-65:12; Ex. 72, at -083; Ex. 8, at 117:7-13).

          D.      NPBL charges a uniform switch rate per the Operating Agreement.

          42.     The Operating Agreement requires that NPBL fix a “uniform rate” for the NPBL’s

  “movement of freight cars … regardless of distance.” (Ex. 2, at 114:7-16; Ex. 1, at art. 9; Ex. 6,

  at 28:13-16; Ex. 22, at 130:24-131:14). The uniform rate is to be “adjusted from time to time” to

  pay a six percent dividend to shareholders. (Ex. 1, at art. 9). The uniform rate that NPBL charges

  to switch cars is referred to as its “switch rate.”

          43.




          44.     NPBL’s switch rate is set through a published tariff. (Ex. 82, Stinson Dep. 128:8-

  22; Ex. 79, NPBL000220). Historically, NPBL has used rate committees to evaluate and propose

  adjustments to the switch rate to the NPBL Board for a vote. (Id. at 158:21-25; Ex. 83, Coleman

  Dep. 47:10-15).

          45.     Through its statutory authority, the Surface Transportation Board (“STB”) has

  exclusive jurisdiction over the reasonableness of switch rates and the trackage rights agreement

  between NS and NPBL. 49 U.S.C. §§ 11102(a), (c)(1).


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         46.     NS provides administrative support to NPBL per contracts with NPBL. (See Ex.

  2, at 35:2-23 (leases three locomotives), 52:9-25 (billing and contract services), 58:2-6 (technology

  services), 60:4-61:25 (car management system), 62:1-13 (email addresses), 193:11-24 (benefits

  administration), 289:1-290:6 (locomotive maintenance)).

                 1.      NPBL set the switch rate at $210/well to cover its operating expenses.

         47.     In 2009, the Board set NPBL’s switch rate at $210 per well, effective January 1,

  2010. (Ex. 88, CSXT0125260). The rate has remained the same since 2010. (Ex. 2, at 202:14-

  18).

         48.     The NPBL switch rate is based on NPBL’s operating costs. (Ex. 89, Crowley Rep.

  at 5, Tbl. 1; Ex. 2, at 234:12-20; Ex. 83, at 104:6-8).

         49.




         50.     It is “very relevant” to consider NPBL’s actual costs in setting the switch rate. (See

  Ex. 81, at 75:16-17, 90:4-7; Ex. 22, at 87:5-9; Ex. 90, Ingram Dep. 169:2-6).

         51.     Since 2010, NPBL’s Board has approved the annual budget presented by NPBL’s

  officers, which includes NPBL’s anticipated expenses for the following year. (Ex. 89, at 4 n.8).

         52.     CSX’s expert testified that he did not take into account the NPBL’s operating

  expenses when he analyzed the NPBL switch rate. (Ex. 70, at 92:4-15).

                 2.      There was no vote on CSX’s 2010 Rate Proposal.

         53.     On July 23, 2010, CSX sent a letter to NPBL (the “2010 Proposal”) proposing that

  the parties enter into a contract relating to NPBL’s movement of CSX’s intermodal freight to and


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  from NIT. (Ex. 91, NPBL007431 at -433). Among other things, CSX proposed that it pay NPBL

  a switch rate of $37.50 per container. Id. The terms proposed by CSX were subject to negotiation

  between CSX and NPBL. Id. CSX sent NPBL a draft contract as part of the negotiation. (Ex. 92,

  J. Booth Dep. 248:10-249:8; Ex. 93, CSXT0109886 at -886-908).

         54.       The proposed discounted rate did not consider all of NPBL’s costs for moving the

  trains. (See Ex. 92, at 69:4-8, 72:7-11, 123:19-124:1; Ex. 81, at 131:9-12, 15-18, 135:6 (proposal

  not based on expenses); Ex. 80, at 117:14-118:7 (plan profitability was speculative and

  unsupported)).

         55.       NPBL’s officers presented their analysis to the NPBL Board. However, no board

  member ever moved for a vote on whether NPBL should agree to the 2010 Proposal. (See Ex. 94,

  NPBL017933 at -938). Nor did CSX, as a shareholder, make a motion at the April 13, 2011

  shareholders meeting to agree to the 2010 Proposal. (Ex. 95, CSXT0000262 at -262).

                   3.     CSX’s 2018 Rate and Governance Proposals

         56.




         57.       On March 23, 2018, CSX sent a letter to NPBL management proposing that the

  parties enter into a contract relating to NPBL’s movement of CSX’s intermodal freight to and from

  NIT. (Ex. 105, CSXT0100329; Ex. 106, CSXT0119620; Ex. 6, at 143:22-144:2). CSX said it

  was “willing to work through [a rate committee] if necessary.” (Ex. 105).

         58.       NPBL pursued the proposal. Moss spoke with CSX about the proposal, met with

  VIT as to port management, and consulted with NS regarding an operating plan for the movements

  CSX proposed. (Ex. 107, NPBL006228; Ex. 2, at 242:10-17).




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         59.     NPBL management raised CSX’s proposal at the April 18, 2018 NPBL Board

  meeting. (Ex. 108, NPBL000745). Board members raised concerns that giving CSX a special,

  contract rate would violate the Operating Agreement’s uniform rate provision. (Ex. 109, Merilli

  Dep. 55:2-8). These concerns led NPBL’s management to recommend that the Board form a rate

  committee to fully investigate the proposal. (Ex. 2, at 242:21-22).

         60.     CSX was not interested in a rate committee. (Ex. 2, at 244:25-245:1). The CSX-

  appointed directors never moved to form a rate committee and never moved for a vote on the 2018

  Rate Proposal at the April 18, 2018 Board meeting. (Ex. 6, at 138:17-19; Ex. 110, Armbrust Dep.

  214:15-21). NPBL never rejected the rate proposal made by CSX. (Ex. 2, at 287:25-288:9).

         61.     On April 6, 2018, CSX sent a letter to NS and NPBL demanding that the NPBL

  Board be restructured to overturn the Supplemental Agreement’s 3-2 allocation of board seats

  between the two parent railroads and for NPBL to adopt an ethics compliance program. (Ex. 111,

  CSXT0100552). But NPBL already maintained a code of ethics and conflicts of interest standards.

  (Ex. 2, at 49:22-50:3; Ex. 83, at 39:17-40:6, 214:2-8; Ex. 109, Merilli Dep. 55:13-56:3).

         62.     CSX asked for a vote to restructure the Board at the shareholder meeting on April

  18, 2018. (Ex. 112, CSXT0149075). NS voted its majority shares against the proposal. (Id.; Ex.

  113, NSR_000738434). Shortly thereafter, CSX commenced this litigation.

         E.      CSX was not foreclosed at NIT and used NPBL to move other freight.

         63.     Prior to 2015, NPBL moved only one intermodal train to NIT at CSX’s request.

  (Ex. 19, at 73:20-25). In that instance, CSX recognized that the switch rate was not “too onerous.”

  (Ex. 96, CSXT0082577 at -577). CSX did not ask NPBL to move any other intermodal freight to


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  or from NIT until March 27, 2015. (Ex. 19, at 131:8-133:3).

            64.   After receiving CSX’s request to move a train of intermodal freight to and from

  NIT on March 27, 2015, NS worked with NPBL, CSX, and VIT to create an operating window.

  (Ex. 19, at 142:6-19). An operating window was agreed to on March 31, 2015, and NPBL moved

  the train on April 1, 2015. (Ex. 19, at 144:20-25; Ex. 116, CSXT0001301). Over the next couple

  of months, CSX asked NPBL to move eight more trains to and from NIT. (Ex. 2, at 291:21-24;

  Ex. 19, at 189:17-20). NPBL moved every train that CSX asked it to move. (Ex. 2, at 291:25-

  292:7).

            65.   As part of these movements, NS provided an operating window for NPBL to move

  the trains on NS’s track to NIT on Tuesday and Thursday mornings, which was consistent with

  the operating window that NS provided NPBL on March 1, 2011. (Ex. 97, CSXT0001537; Ex.

  117, CSXT0126579; Ex. 19, at 179:15-180:9).

            66.   CSX has not asked NPBL to move intermodal freight to or from NIT since July

  2015. NPBL has never refused to move CSX’s intermodal freight to or from NIT. (Ex. 2, at

  291:21-292:7; Ex. 19, at 189:17-20; Ex. 11, at 28:21-23).

            67.   CSX has used NPBL to move other freight.




            68.




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         69.



         70.

                                                                           Both (i) the total volume

  of containers moving by rail in and out of the POV, and (ii) the total number of containers moved

  by CSX, have increased from 2009 to the present. (Ex. 10, at Tbls. 5, 6).

         71.



         F.      NS and NPBL are litigating against each other regarding NS’s request to have
                 the STB set the trackage fee.

         72.




         73.     NPBL and NS could not agree on the amount of the trackage fee that NPBL would

  pay NS for use of NS’s tracks. (Ex. 101, NPBL005850; Ex. 102, CSX Resp. NPBL’s Req. Admis.

  Nos. 5 & 8 (AEO) (admitting that NS has not increased the trackage fee and that NPBL opposed

  NS’s request to increase the trackage fee)).

         74.     As a result, on Sept mber 13, 2018, NS petitioned the STB to set the trackage rights

  compensation, a proceeding where NS and NPBL are adverse parties. (See Ex. 103, CSX Resp.

  NPBL’s Req. Admis. No. 3 (admitting that Defendants did not enter into any trackage fee

  agreement)).



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         G.      Efforts to sell Pinners Point and decommissioning of Diamond Track.

         75.     In 2008, NPBL began considering a sale of Port Norfolk Yard (also called Pinner’s

  Point). (See Ex. 84, NPBL006936 at -957). CSX-appointed board members approved selling the

  property, but ultimately the Board agreed that NPBL should hold off on selling the property. (See

  Ex. 85, NPBL007095, Ex. 86, Eliasson E-Mail (Feb. 14, 2011); (Ex. 83, at 87:13-16, 91:11-12).

         76.     NPBL had trackage rights over a short segment of track formerly located between

  NS Junction and Carolina Junction in the Berkley area of South Norfolk (the “Diamond Track”).

  (See Ex. 87, Board Min., Dec. 19, 2007, CSXT0000001 at -005). The decommissioning of the

  Diamond Track was presented to the Board, which approved it without objection. Id.

         77.     NS requested that the STB approve discontinuance of service and trackage rights

  over the Diamond Track, certifying that no local traffic had moved over the line for at least two

  years. The STB approved the discontinuance, without objection from CSX, effective June 14,

  2008. STB Docket No. AB-290 (Sub-No. 299X), NSR – Discontinuance of Service Exemption &

  NPBL – Discontinuance of Trackage Rights Exemption, May 15, 2008.

                                            ARGUMENT

  I.     CSX’S CLAIMS ARE BARRED BY THE STATUTE OF LIMITATIONS.

         A.      Conduct beyond the limitations period cannot underpin claims or damages.

         CSX’s claims are based on its contention that NS, together with NPBL, prevented CSX

  from accessing NIT. CSX relies on the following allegedly wrongful conduct: (1) removal of the

  Diamond Track in 2008; (2) allegedly blocking CSX’s attempt to purchase the Port Norfolk Yard

  in 2009; (3) setting the NPBL’s switch rate at $210 per car in 2009; (4) purportedly “rejecting” the

  2010 Service Proposal; (5) allegedly preventing CSX from using NBPL to move intermodal freight

  to and from NIT in 2015; and (6) allegedly refusing to adopt CSX’s 2018 Service and Governance

  Proposals. (Compl. ¶ 34; Ex. 118, CSX 2d Supp. Resp. NPBL’s Interrog. No. 4).


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         Section 4B of the Clayton Act provides that any private antitrust cause of action is barred

  “unless commenced within four years after the cause of action accrued.” 15 U.S.C. § 15b. An

  antitrust cause of action accrues “when a defendant commits an act that injures a plaintiff’s

  business.”   Zenith Radio Corp. v. Hazeltine Rsch., Inc., 401 U.S. 321, 338 (1971).             The

  “commission of a separate new overt act” in furtherance of an antitrust conspiracy “generally does

  not permit the plaintiff to recover for the injury caused by old overt acts outside the limitations

  period.” Klehr v. A.O. Smith Corp., 521 U.S. 179, 189 (1997). Thus, an antitrust plaintiff “cannot

  use an independent, new predicate act as a bootstrap to recover for injuries caused by other earlier

  predicate acts that took place outside the limitations period.” Id. at 190 (even where the plaintiff

  demonstrates the existence of new overt acts, the plaintiff may recover only for damages caused

  by the new acts that occurred during the limitations period).

         CSX’s state law contract and statutory business conspiracy claims against NS are subject

  to a five-year limitations period. (See ECF No. 66 at 36). See also Va. Code Ann. § 8.01-246;

  Detrick v. Panalpina, Inc., 108 F.3d 529, 543 (4th Cir. 1997). Its common law conspiracy claim

  is subject to a two-year limitations period governing breach of fiduciary duty claims.4 See Jones

  v. Shooshan, 855 F. Supp. 2d 594, 602 (E.D. Va. 2012). As with its antitrust claims, each of these

  state law causes of action accrued when CSX first suffered damages, or injury, as a result of the

  alleged wrongful acts. See Westminster Investing Corp. v. Lamps Unlimited, 237 Va. 543, 546

  (1989) (breach of contract claim accrues when plaintiff suffers damages, even if slight); Detrick,

  108 F.3d at 543 (cause of action for either type of conspiracy accrues when the plaintiff suffers an



  4
    CSX’s tortious interference claim was dismissed (ECF No. 66 at 46-48), and its conspiracy claims
  cannot rest on a breach of the Operating Agreement. See Station # 2, LLC v. Lynch, 280 Va. 166,
  174 (2010) (mere non-performance of a contract does not, on its own, establish a business
  conspiracy claim). Nor can CSX rest conspiracy claims on an alleged breach of fiduciary duty by
  the NPBL directors. See Argument Part III.C infra.


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  injury sufficient to give rise to the underlying tort claim).

         As NPBL also explains, under any of these statutory periods, the first four alleged wrongful

  acts upon which CSX relies—as well as any damages that flow from those acts, whenever they

  may have been incurred—are time-barred. The Court has already so held in ruling on NS’s Motion

  to Dismiss. (See ECF No. 66 at 38-40 (finding that CSX alleged “wrongful acts … within the five-

  year statute of limitations” allegedly produced damages “distinct” from those flowing from the

  actions NS took before 2014 (emphasis added))). Even though the alleged wrongful acts occurring

  outside the statute of limitations may give rise to distinctly separate damages, as the Court

  recognized, these actions cannot support CSX’s claims. Further, any damages allegedly stemming

  from time-barred acts are unrecoverable regardless of when the damages accrued.

         B.      CSX cannot identify any distinct damages from conduct occurring within the
                 limitations period, so CSX is not entitled to any recovery.

         CSX relies solely on the testimony of its expert, Professor Howard P. Marvel, for purposes

  of proving damages for all of its claims. (See Ex. 119, CSX’s 2d Suppl. Resp. NS’s 1st Interrog.

  3; Ex. 120, CSX’s 4th Suppl. Rule 26(a)(1) Disclosures). Prof. Marvel’s damages model asserts

  CSX suffered damages from 2009 through 2021, but he does not identity what specific damages

  were caused by the specific wrongful conduct alleged by CSX. (Ex. 71, at ¶¶ 124-125). For the

  reasons stated above, CSX cannot recover pre-2015 damages because those damages necessarily

  are based on allegedly wrongful conduct that took place outside the limitations period.

         CSX also is barred from recovering any damages from 2015 forward because CSX cannot

  identify whether those alleged damages were caused by (a) time-barred conduct, (b) Defendants

  allegedly preventing CSX from using NBPL to move intermodal freight through NIT in 2015, or

  (c) Defendants’ alleged refusal to adopt CSX’s 2018 Service and Governance Proposals. CSX

  may not use a unified damages theory that not only seeks to recover time-barred damages, but also



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  does not distinguish the alleged damages flowing from time-barred conduct from damages

  stemming from within-limitations-period conduct. This is the type of bootstrapping that the law

  does not allow. See Klehr, 521 U.S. at 188-90. Thus, CSX’s claims must be dismissed.

          C.      The “continuing violation” doctrine cannot save CSX’s antitrust conspiracy
                  claims.

          CSX may claim that its antitrust conspiracy claims are saved by the continuing violation

  doctrine, which requires proof of an overt act occurring after October 4, 2014 that (1) is a new and

  independent act that is not merely a reaffirmation of a previous act, and (2) inflicts new injury on

  the plaintiff. See Kaw Valley Elec. Coop. Co. v. Kansas Elec. Power Coop., Inc., 872 F.2d 931,

  933 (10th Cir. 1989) (both elements are necessary for the act to restart the statute of limitations);

  accord Lancianese v. Bank of Mt. Hope, 783 F.2d 467, 470 (4th Cir. 1986); see also XY, LLC v.

  Trans Ova Genetics, L.C., 890 F.3d 1282, 1292 (Fed. Cir. 2018) (antitrust plaintiff bore burden on

  summary judgment to present evidence that it had suffered damages as a result of separate antitrust

  violations occurring within limitations period). In other words, “a newly accruing claim for

  damages must be based on some injurious act actually occurring during the limitations period, not

  merely the abatable but unabated inertial consequences of some pre-limitations action.” Al

  George, Inc. v. Envirotech Corp., 939 F.2d 1271, 1274 (5th Cir. 1991) (citation omitted).

          Neither NPBL’s movement of trains in 2015 nor Defendants’ purported failure to consider

  the 2018 Rate Proposal was a “new and independent act.” CSX undisputedly successfully used

  NPBL to access NIT in 2015. (SOF ¶¶ 62-65). CSX did not bring the 2018 Rate Proposal to a

  vote (id. ¶ 60), so Defendants took no overt action on the 2018 Rate Proposal.5 Nor does NS’s

  vote against the Governance Proposal help CSX, as NS had the contractual right to insist that the


  5
    If CSX argues that it did not bring its Rate Proposal for a vote because doing so would have been
  “futile,” the proposal would alternatively fail to restart the statute of limitations as a futile proposal
  to deal. See Kaw Valley, 872 F.2d at 934.


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  Supplemental Agreement be followed. (Id. ¶ 62). Thus, Defendants did not engage in any new

  and independent act sufficient to restart the statute of limitations. See Midwestern Mach. Co. v.

  Northwest Airlines, Inc., 392 F.3d 265, 271 (8th Cir. 2004) (defendant must take new anti-

  competitive action to restart the statute of limitations).

          CSX also cannot show that it suffered new injury or damages as a direct result of any post-

  2014 action. Instead, CSX merely relies on its expert report to claim damages for each year dating

  back to 2009. CSX’s failure to provide evidence that NS’s allegedly unlawful 2015 and/or 2018

  actions caused injury distinct from the “abatable but unabated inertial consequences” of NPBL’s

  2009 decision to set the switch rate at $210 means that CSX cannot demonstrate any overt act that

  is sufficient to restart the statute of limitations. See XY, LLC, 890 F.3d at 1291 (affirming summary

  judgment where plaintiff failed to identify any new injury resulting from acts occurring within the

  limitations period). CSX’s antitrust claims are, thus, barred in their entirety.

  II.     SUMMARY JUDGMENT ON CSX’S ANTITRUST CLAIMS IS WARRANTED.

          A.      CSX’s failure to properly define a relevant market compels dismissal of all
                  CSX’s antitrust claims.

          All of CSX’s antitrust claims require that it allege and prove the requisite degree of market

  power in a properly defined relevant antitrust market, that is, the “area of effective competition,”

  within which “significant substitution in consumption or production occurs.” Ohio v. Am. Express

  Co., 138 S. Ct. 2274, 2285 (2018) (hereinafter AmEx) (quoting Walker Process Equip., Inc. v.

  Food Mach. & Chem. Corp., 382 U.S. 172, 177 (1965), and Phillip E. Areeda & Herbert

  Hovenkamp, Fundamentals of Antitrust Law § 5.02 (4th ed. 2017)). Without a properly defined

  market, “there is no way to measure [the defendant’s] ability to lessen or destroy competition.”

  Walker Process, 382 U.S. at 177; see also AmEx, 138 S. Ct. at 2283-85 (recognizing that proper

  application of the rule of reason under Section 1 of the Sherman Act, 15 U.S.C. § 1, usually



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  requires “an accurate definition of the relevant market”)6; It’s My Party, Inc. v. Live Nation, Inc.,

  811 F.3d 676, 681 (4th Cir. 2016) (plaintiffs alleging monopolization under Section 2 of the

  Sherman Act, 15 U.S.C. § 2, must “identify[] exactly what market defendant is accused of

  monopolizing”); Sun Microsystems, Inc. v. Microsoft Corp., 333 F.3d 517, 534 (4th Cir. 2003)

  (attempted monopolization “requires definition of the relevant market that the defendant is

  allegedly attempting to monopolize”), abrogated on other grounds by eBay, Inc. v. MercExchange.

  L.L.C., 547 U.S. 388 (2006); Dickson v. Microsoft Corp., 309 F.3d 193, 211 (4th Cir. 2002)

  (conspiracy to monopolize under Section 2 of the Sherman Act requires allegations as to “market

  power or share of [the alleged conspirators] in the [relevant] market”).

           Here, CSX’s relevant market allegations fail for two separate, independent reasons. First,

  CSX failed to offer evidence to prove that the market alleged in its Complaint is a properly defined

  relevant market. Second, the market proffered by Prof. Marvel, CSX’s expert economist, is

  impermissibly narrow and does not account for the realities of competition. Courts routinely reject

  markets that are, as here, gerrymandered around the plaintiff’s preferences, instead of being

  defined pursuant to accepted market definition principles. See It’s My Party, 811 F.3d at 683 (“No

  party can expect to gerrymander its way to an antitrust victory without due regard for market

  realities.”); Consul, Ltd. v. Transco Energy Co., 805 F.2d 490, 495 (4th Cir. 1986) (“A market

  drawn too tightly . . . creates the illusion of market power where none may exist.”).

                   1.     CSX cannot proffer evidence to prove that the relevant market pleaded
                          in its Complaint is properly defined.

           CSX’s Complaint alleges a relevant market of “freight transportation by rail in and out of

  the Hampton Roads’ ports.” (Compl. ¶ 50). CSX made no attempt in discovery to adduce evidence

  in support of this purported relevant market and, thus, cannot carry its burden on this essential


  6
      See Section III.B., infra, explaining that CSX’s Section 1 claim is a “rule of reason” claim.


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  element. CSX’s expert Prof. Marvel defines and analyzes a much narrower market for “on-dock

  rail access at NIT.” (Compare Compl. ¶¶ 49-50; with Ex. 7, Marvel Rep. ⁋ 12). The two are very

  different. The market defined in the Complaint contemplates rail service provided to ocean carriers

  from POV, whereas the market defined by Prof. Marvel contemplates rail access to NIT provided

  by NPBL. CSX did not seek to amend its Complaint to define a relevant market consistent with

  Prof. Marvel’s definition.     CSX may not now proceed on Prof. Marvel’s narrower market

  definition, having failed to amend its complaint to reflect this more limited and very different

  theory. Cf. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (a plaintiff’s complaint must

  give the defendant fair notice of what the . . . claim is and the grounds upon which it rests” (citation

  omitted)); accord Monsanto Co. v. Scruggs, 342 F. Supp. 2d 568, 581-82 (N.D. Miss. 2004)

  (refusing to permit expert testimony on markets other than alleged in plaintiff’s antitrust

  counterclaim), aff’d, 459 F.3d 1328 (Fed. Cir. 2006); Bepco, Inc. v. Allied-Signal, Inc., 106 F.

  Supp. 2d 814, 824 (M.D.N.C. 2000) (proffer of contradictory expert evidence on relevant market

  “seriously compromise[d] [plaintiff]’s claim to have defined any relevant markets at all”).

          Without evidence to support its pleaded relevant market, CSX cannot carry its burden on

  this essential element. See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986) (defendant can meet

  summary judgment burden by noting the “absence of evidence to support the nonmoving party’s

  case”); Berlyn Inc. v. Gazette Newspapers, Inc., 73 F. App’x 576, 582 (2003) (“The plaintiff in an

  antitrust case bears the burden of proof on the issue of the relevant . . . market[].” (quoting Satellite

  Television & Assoc. Res., Inc. v. Cont’l Cablevision of Va., Inc., 714 F.2d 351, 355 (4th Cir. 1983)).

                  2.      Regardless of which proposed definition is considered, CSX has
                          improperly gerrymandered the relevant market.

          Both of CSX’s proposed market definitions—the POV rail service market in the Complaint

  and the on-dock access to NIT market proffered by Prof. Marvel—suffer from a similar flaw. Both



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  are tightly drawn around CSX’s own circumstances, not by reference to traditional market

  definition principles. Antitrust markets are defined along two dimensions: a relevant product or

  service market and a relevant geographic market. See e.g., Berlyn, 73 F. App’x. at 582; Am.

  Online, Inc. v. GreatDeals.Net, 49 F. Supp. 2d 851, 857-58 (E.D. Va. 1999). Whether a service

  constitutes a distinct market depends on whether it is “reasonably interchangeable” with other

  services, or the “extent to which consumers will change their consumption of [that service] in

  response to a price change in another, i.e., the ‘cross-elasticity of demand.’” It’s My Party, 811

  F.3d at 683 (quoting United States v. E.I. duPont de Nemours & Co., 351 U.S. 377, 395 (1956),

  and Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 469 (1992)). A relevant

  geographic market must be defined by the “area within which the defendant’s customers . . . can

  practicably turn to alternative supplies if the defendant were to raise its prices.” Id. at 682 (ellipsis

  in original) (quoting E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 441 (4th

  Cir. 2011)).

          Because CSX has alleged that the harm to competition is the harm to ocean carriers as a

  result of lessened competition between NS and CSX for intermodal contracts, (Ex. 70, at 21:22-

  22:6), the service and geographic dimensions of the relevant market must include alternative

  options that ocean carriers can substitute to transport their international intermodal containers.7

  See, e.g., Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 438 (3d Cir. 1997) (“The

  test for a relevant market is not commodities reasonably interchangeable by a particular plaintiff,

  but ‘commodities reasonably interchangeable by consumers for the same purposes.’”) (quoting

  E.I. du Pont, 351 U.S. at 395); Berlyn, 73 F. App’x. at 583 (relevant market must identify the




  7
   Despite alleging that ocean carriers were harmed by NS’s conduct, CSX has offered no direct
  evidence from any ocean carrier confirming they were so harmed.


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  “proper consumer” and the products that those consumers may find reasonably interchangeable).

  Here, both of CSX’s proposed markets are too narrow in that both (i) improperly omit other modes

  of transportation that plainly compete with rail transportation for ocean carriers’ business; and (ii)

  improperly omit from their geographic scope ports beyond the POV that provide alternative

  options for ocean carriers to move their intermodal containers to their ultimate destination. CSX’s

  failure to properly define either the service dimension or the geographic dimension is fatal to its

  claims.

                          i.     Relevant geographic market.

            The Complaint alleges a geographic market of “the intermodal port facilities of Hampton

  Roads, Virginia,” (Compl. ¶ 49), and Prof. Marvel narrows this market further to only NIT. (Ex.

  7, at ¶ 40). But here, not only are all three intermodal terminals at the POV reasonable

  alternatives,8 so are other ports outside of the POV, most significantly the Port of NY/NJ.




                                                                           Ocean carriers can, and do,

  use other POV terminals instead of NIT. (See SOF ¶¶ 10, 12). Indeed, there is no international

  intermodal traffic or customer that must move through NIT. (SOF ¶ 69).

            Moreover, the undisputed evidence demonstrates that ports compete with one another for

  the movement of international intermodal discretionary cargo—cargo that by definition can be




  8
    CSX significantly increased its international intermodal container movements at both NIT and
  the POV as a whole during the relevant period. (SOF ¶ 71). PMT closed to international
  intermodal container traffic in April 2020. (SOF ¶ 13).


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  moved through more than one port to its final destination.9 (SOF ¶¶ 21-22, 24). The primary

  competitor of the POV is the Port of NY/NJ, (SOF ¶ 26), which benefits from often being the first

  port of call on the East Coast, providing that port with a speed-to-market advantage over the POV

  when serving inland destinations such as the Midwest compared to the POV. (SOF ¶ 27). CSX

  and NS serve the same major Midwest locations through the Port of NY/NJ that they serve through

  the POV, including Chicago, Cleveland, Cincinnati, Columbus, Detroit, Louisville, Kansas City,

  and St. Louis. (SOF ¶ 30). Further, CSX has long prioritized the Port of NY/NJ for its own

  international intermodal service, (SOF ¶ 28), having had double-stack capabilities out of the Port

  of NY/NJ for at least 10 years,



                                                                                Competition between

  the POV and the Port of NY/NJ means that ocean carriers can choose to route traffic through either

  port, as demonstrated




         The POV also competes with other East Coast ports—Baltimore, Philadelphia, Savannah,

  Jacksonville, Charleston, and Canadian ports—for discretionary international intermodal traffic.

  (SOF ¶ 24). These East Coast ports provide ocean carriers with additional options to reach some

  of the same origins and destinations served by NS and CSX at the POV. (SOF ¶¶ 21, 24).


  9
    The inland locations for which POV has the greatest natural shipping advantage tend to be close
  to the port, which in turn tend to be most efficiently served by trucks rather than rail. (SOF ¶ 23).
  10




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  Similarly, West Coast ports compete with East Coast ports (including the POV) for discretionary

  cargo going to or from markets in the Midwest. (SOF ¶ 22). In fact, CSX evaluates how pricing

  at different ports affects ocean carriers’ decisions about which ports to utilize to move intermodal

  freight.11 (SOF ¶ 25).



       Both of CSX’s proposed geographic markets are deficient as a matter of law because they fail

  to include reasonable geographic alternatives available to ocean carriers.

                           ii.   Relevant service market.

          Failure to properly define the service dimension of a relevant market is a separate and

  independent reason CSX’s claims must be dismissed. Here, CSX failed to include end-to-end

  truck transportation as a competitive alternative to rail for ocean carriers. Trucks accounted for

  more than 60% of the international intermodal traffic at the POV during the 2012-2019 period.

  (SOF ¶ 36). While trucks dominate movements of cargo containers up to 200 miles, they also

  compete with rail for a portion of movements of 200 miles or more. (SOF ¶¶ 37-38).




                                                                                              Despite



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  this undisputed evidence of competition between trucks and rail, and ocean carriers’ ability to

  switch between them, CSX’s market definition entirely fails to account for trucks and is thus

  inadequate as a matter of law.

         B.      CSX cannot establish a genuine issue of material fact on its Section 2
                 monopolization and attempted monopolization claims.

         A monopolization or attempted monopolization claim under Section 2 of the Sherman Act

  requires the plaintiff to prove that the alleged monopolist engaged in conduct not resulting from

  “growth or development as a consequence of a superior product, business acumen, or historic

  accident” and that is not explained by legitimate business justifications.12 Loren Data Corp. v.

  GXS Inc., 501 F. App’x 275, 282 (4th Cir. 2012); see also Laurel Sand & Gravel, Inc. v. CSX

  Transp., Inc., 924 F.2d 539, 544 (4th Cir. 1991). Here, the gravamen of CSX’s complaint is that

  NS, through its alleged control over NPBL, foreclosed CSX from on-dock rail access to NIT,

  which diminished CSX’s ability to compete for ocean carriers’ business. CSX’s claims fail on a

  number of grounds.13




  12
     Monopolization requires: “(1) the possession of monopoly power in the relevant market and (2)
  the willful acquisition or maintenance of that power as distinguished from growth or development
  as a consequence of a superior product, business acumen, or historic accident.” Oksanen v. Page
  Mem’l Hosp., 945 F.2d 696, 710 (4th Cir. 1974) (quoting Aspen Skiing Co. v. Aspen Highlands
  Skiing Corp., 472 U.S. 585, 596 n.19 (1985)). Attempted monopolization requires: (1) “specific
  intent to monopolize the market, [(2)] the defendant engaged in anti-competitive or predatory
  conduct designed to further that intent; and [(3)] a dangerous probability of success.” Abcor Corp.
  v. AM Int’l, Inc., 916 F.2d 924, 926 (4th Cir. 1990) (citing White Bag Co. v. Int’l Paper Co., 579
  F.2d 1384, 1387 (4th Cir. 1974)). The same definition of exclusionary conduct applies to both
  claims. Kolon Indus., Inc. v. E.I. Dupont de Nemours & Co., 748 F.3d 160, 178 (4th Cir. 2014)
  (quoting 3B Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 806a (3d ed. 2008)).
  13
      As to CSX’s Section 2 conspiracy-to-monopolize claims, CSX’s failure to adequately allege a
  conspiracy for purposes of Section 1 of the Sherman Act (see Section __, infra) likewise dooms
  its Section 2 conspiracy-to-monopolize claims. See Dickson, 309 F.3d at 211.


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                 1.     CSX’s Section 2 monopolization and attempted monopolization claims
                        reach only unilateral conduct by a single firm.

         Section 2’s prohibitions on monopolization and attempted monopolization address

  unilateral conduct by a single firm. See Oksanen v. Page Mem’l Hosp., 945 F.2d 696, 710 (4th

  Cir. 1991) (“[M]onopolization under section two involves the actions of a single firm to control a

  market.”). Here, however, CSX’s monopolization and attempted monopolization claims depend

  in large part on conduct that was in fact engaged in by NPBL, supposedly at NS’s direction. Where

  CSX has argued that NS and NPBL are “separate legal entities, with separate economic interests,

  separate corporate purposes, and separate management” (Pl.’s Opp’n Def.’s Mot. Dismiss 17, ECF

  No. 39), CSX cannot simultaneously press single-firm monopolization and attempted

  monopolization claims premised on both firms’ conduct. See, e.g., Midwest Gas Servs., Inc. v.

  Indiana Gas Co., 317 F.3d 703, 713 (7th Cir. 2003) (plaintiff’s Section 2 claims alleging co-

  defendant was “functionally under the control of [defendant]” were not proper where the court

  found entities to be “separate and distinct”); Sun Dun, Inc. of Wash. v. Coca-Cola Co., 740 F.

  Supp. 381, 391 (D. Md. 1990) (“The idea that a monopoly is composed of a single economic entity

  is . . . reflected in the requirement . . . that the requisite market power be held by a single

  defendant.”). CSX’s Section 2 monopolization and attempt claims fail for this reason alone.

                 2.     CSX cannot prove exclusionary conduct under an “essential facilities”
                        theory.

         CSX contends that NS violated Section 2 of the Sherman Act because by denying CSX

  access to NIT by rail, preventing CSX from competing with NS.14 But the Supreme Court has



  14
     See Compl. ¶ 93(a) (NS caused NPBL to reject CSX’s Service Proposal, thereby denying access
  to NIT); ¶ 93(b) (failing to allow reasonable/timely movement of CSX rail cars delivered to NIT
  by NPBL); ¶ 93(c) (refusing to allow NPBL to use CSXT’s locomotives to access NIT); ¶ 93(d)
  (NS set NPBL’s switch rate at levels designed to exclude competition); ¶ 93(e) (NS caused NPBL
  to terminate access rights to the “diamond track”).


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  long reiterated that competitors have no duty to help one another: the Sherman Act “does not

  restrict the long recognized right of [a] trader . . . engaged in an entirely private business, freely to

  exercise his own independent discretion as to parties with whom he will deal.” Verizon Commc’ns,

  Inc. v. Law Offices of Curtis V. Trinko, LLP (Trinko), 540 U.S. 398, 408 (2004) (alternation in

  original) (quoting United States v. Colgate & Co.., 250 U.S. 300, 307 (1919)). While the Supreme

  Court has recognized certain exceptions to the Colgate doctrine, it has been “very cautious,” in

  part “because of the uncertain virtue of forced sharing.”15 Verizon Commc’ns, 540 U.S. at 408;

  see also id. at 411 (declining to expand the “few existing exceptions from the proposition that there

  is no duty to aid competitors”); Loren Data, 501 F. App’x at 283.

          CSX hopes to evade this long-standing rule by attempting to plead an “essential facilities”

  claim, which “[s]tated most generally” imposes liability “when one firm, which controls an

  essential facility, denies a second firm reasonable access to a product or service that the second

  firm must obtain in order to compete with the first.” Alaska Airlines, Inc. v. United Airlines, Inc.,

  948 F.2d 536, 542 (9th Cir. 1991). Moreover, the “central concern” in an essential facilities claim

  is whether the control over the facility “is being used to create or further a monopoly in another

  market.” Loren Data, F. App’x at 284 (quoting Advanced Health-Care Servs., Inc. v. Radford

  Cmty. Hosp., 910 F.2d 139, 150 (4th Cir. 1990)). This matches CSX’s theory of harm to

  competition here, namely, that NS’s exclusionary conduct has caused downstream harm to ocean




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      One narrow exception to the Colgate rule was established in Aspen Skiing Co. v. Aspen
  Highlands Skiing Corp., 472 U.S. 585 (1985), a decision that the Supreme Court subsequently
  acknowledged to be “at or near the outer boundary of § 2 liability.” Trinko, 540 U.S. at 409.
  Under Aspen Skiing, Section 2 liability can attach where (i) the defendant-monopolist has ceased
  participation in a cooperative venture with a competitor; (ii) the defendant has unilaterally
  terminated a voluntary course of dealing; and (iii) the defendant is unwilling to provide access to
  the competitor “even if compensated at retail price.” Trinko, 540 U.S. at 409; see also Loren Data,
  501 F. App’x at 283. As explained in this section, CSX cannot demonstrate it was denied access.


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  carriers. (Ex. 70, at 21:22-22:6).

         The Supreme Court has “never recognized [the essential facilities] doctrine.” Trinko, 540

  U.S. at 411. To the extent it remains viable after Trinko, a plaintiff must show: “(1) control by the

  monopolist of the essential facility; (2) the inability of the competitor seeking access to practically

  or reasonably duplicate the facility; (3) the denial of the facility to the competitor; and (4) the

  feasibility of the monopolist to provide the facility.” Loren Data, 501 F. App’x at 284 (quoting

  Laurel Sand & Gravel, 924 F.2d at 544).16

         Moreover, the doctrine is cabined by several considerations. First, the facility need not be

  made available “under whatever terms the competitor wishes.” Loren Data, 501 F. App’x at 284.

  Second, access need only be offered on reasonable terms, evaluated “in the context of competition,

  rather than from plaintiff’s perspective,” Laurel Sand & Gravel, Inc. v. CSX Transp., Inc., 704 F.

  Supp 1309, 1323 (D. Md. 1989), aff’d, 924 F.2d 539 (4th Cir. 1991), and cannot “be read to mean

  the assurance of a profit” to the competitor seeking access. Laurel Sand & Gravel, 924 F.2d at

  545. Third, “essential facilities claims should . . . be denied where a state or federal agency has

  effective power to compel sharing and regulate its scope and terms.” Trinko, 540 U.S. at 411

  (quoting Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law, ¶ 773e (2003 Supp.)). Here,

  CSX’s monopolization and attempted monopolization claims fail as a matter of law because (i) the

  undisputed evidence shows that CSX at times did access NIT; and (ii) the STB regulates NPBL’s

  switch rate if challenged as unreasonable.17


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     While CSX has not explicitly identified NIT as an essential facility, that is indeed what it is
  alleging: the theory of harm developed by Prof. Marvel is that CSX’s alleged lack of on-dock
  access to NIT has caused CSX to lose ocean carrier business across its entire network, not just at
  NIT or the POV. (Ex. 71, at ¶ 124).
  17
     While CSX primarily complains about the switch rate and supposed physical denial of access,
  it also cites a smattering of other acts in connection with its monopolization and attempted
  monopolization claims—none of which constitutes exclusionary conduct. NS did remove a


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                         i.      CSX was not denied access to NIT.

         CSX cannot establish that there was either a physical or economic denial of access to NIT.

  First, the undisputed evidence shows that at times CSX did access NIT using NS’s on-dock rail

  access via NPBL. (SOF ¶¶ 63-65); Cf. Trinko, 540 U.S. at 411 (where access exists, the essential

  facilities doctrine “serves no purpose”). CSX complains that NS failed to timely move CSX train

  cars when CSX did pay the switch rate. (Compl. ¶ 93(b)). But the undisputed facts show that (i)

  with one exception, CSX only tried to move trains via NPBL in 2015, and (ii) in 2015, CSX

  requested that NPBL move nine trains, NPBL accommodated every request, and CSX moved all

  its trains successfully.18 (SOF ¶¶ 63-64). NPBL has never refused to move CSX’s freight to or

  from NIT. (SOF ¶ 66). And CSX has not once sought NPBL service to access NIT since 2015.

  Id.

         Second, CSX cannot establish that the switch rate was so unreasonable as to constitute a

  denial of access. The price charged for the on-dock rail access to NIT is NPBL’s switch rate, and

  the same payment terms apply to any customer seeking to move freight on NPBL—including CSX

  and NS—as is required by NPBL’s Operating Agreement. (SOF ¶ 42).




  portion of its own track known as the “diamond track,” in 2008; but only after the discontinuation
  was approved without objection by the NPBL Board. (SOF ¶ 76). CSX also complains that NS
  refused to allow NPBL to use CSX locomotives, but NPBL already leases three locomotives from
  NS and receives operations assistance. (SOF ¶ 46). Finally, NPBL’s rejection of CSX’s rate
  proposals do not constitute exclusionary conduct because (i) the CSX rate proposal would violate
  NPBL’s Operating Agreement (SOF ¶¶ 42, 59), and (ii) CSX Board members effectively
  abandoned the 2010 and 2018 proposals by failing to ask for a vote on those proposals. (SOF
  ¶¶ 55, 60). Indeed, rather than press for a vote, CSX instead opted to file the instant lawsuit.
  (Compl. ¶ 93(a)).
  18
     The 2015 movements show that CSX’s use of NPBL to access NIT creates complexity at the
  terminal. Most terminals operate with trains entering and exiting in one direction, but at NIT CSX
  trains enter and exit in the opposite direction to NS trains. (SOF ¶ 17). That only one train can run
  at a time limits on-track capacity and requires schedule coordination with NS. (SOF ¶¶ 17, 65).


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                                        The failure to consider the switch rate with respect to NPBL’s

  cost of providing the access is fatal, for the Fourth Circuit has recognized that where the price of

  access is based on the cost of providing the access, the rate is reasonable as a matter of law. See

  Laurel Sand & Gravel, 924 F.2d at 544-45 (finding rate offer that was a penny over defendant’s

  variable costs to be reasonable). CSX has willingly paid those same switch fees to utilize a

  different portion of NPBL track that is not at issue in this litigation. (SOF ¶ 67).

          In sum, CSX’s displeasure with the terms offered does not establish an exception to the

  rule that there is no duty to aid competitors. See Loren Data, 501 F. App’x at 283.

                          ii.     Antitrust scrutiny is not warranted because the Surface
                                  Transportation Board regulates rates.

          The fact of STB oversight further militates against antitrust intervention here. See Trinko,

  540 U.S. at 412. The STB provides regulatory oversight of the railroad industry and has exclusive

  authority to grant terminal access and determine the reasonableness of switch rates, like the one

  charged by the NPBL. (SOF ¶ 45; Defs.’ Mot. Dismiss at 7-9, ECF No. 116.) Because a regulator

  has the ability to grant the relief CSX seeks, “it [is] less plausible that the antitrust laws contemplate

  [the] additional scrutiny” that CSX contends is warranted here. Trinko, 540 U.S. at 412.

                  3.      NS’s conduct did not result in substantial foreclosure.

          Separate from CSX’s inability to prove it was denied access to an “essential facility,” CSX

  cannot show that it was excluded as a competitor. See, e.g., Kolon Indus., 748 F.3d at 175. As an

  initial matter, CSX’s own business performance repudiates the notion that it was foreclosed from

  NIT. Since 2009, CSX has significantly increased its volume of international intermodal container

  movements at NIT, and the POV more broadly. (SOF ¶¶ 70-71).




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                             Id. CSX also complains mightily about the “excessive” rate that it

  supposedly faced in order to access NIT,




  III.   NS IS ENTITLED TO SUMMARY JUDGMENT ON CSX’S FEDERAL AND
         STATE CONSPIRACY CLAIMS.

         To prevail on CSX’s four conspiracy claims (Counts I, II, VIII, and IX), CSX must prove

  that NS agreed to conspire with another party. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 553

  (2007) (requiring an agreement to show a conspiracy under 15 U.S.C. § 1); Dickson v. Microsoft

  Corp., 309 F.3d 193, 211 (4th Cir. 2002) (requiring an agreement for conspiracy to monopolize

  under Section 2); Va. Code § 18.2-499 (prohibiting combination, association, or agreement

  between two parties to injure another’s reputation, trade, business or profession); Va. Code § 18.2-

  500 (providing for treble damages for violations of Va. Code § 18.2-499); Hechler Chevrolet, Inc.

  v. Gen. Motors Corp., 230 Va. 396, 402 (1985) (requiring agreement between two parties for

  common law conspiracy). Count I additionally requires proof that the agreement restrained trade

  unreasonably, Cont’l Airlines, Inc. v. United Airlines, Inc., 277 F.3d 499, 508 (4th Cir. 2002), and

  Counts II, VIII, and IX also require some action in furtherance of the conspiracy. Hechler, 230

  Va. at 402; Masco Contractor Servs. E., Inc. v. Beals, 279 F. Supp. 2d 699, 708 (E.D. Va. 2003)

  (citing Adv. Health-Care Servs., Inc. v. Radford Cmty. Hosp., 910 F.2d 139, 150 (4th Cir. 1990)).

  CSX cannot satisfy these elements for any of its conspiracy claims.

         A.      CSX cannot show evidence of an agreement between NS and NPBL.

         As NPBL also explains, CSX cannot show that NS and NPBL acted in concert with one

  another. CSX identified 96 communications as evidence of a conspiratorial agreement between



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  NS and NPBL. (See Ex. 121 (chart of communications)). Only 15 of the communications are

  solely between both Defendants, and of those, only eight took place within the limitations period.

  Id. Of these eight, (a) two lack any text due to technical issues; (b) four relate to NPBL’s use of

  NS’s tracks to move CSX’s intermodal freight to NIT in 2015; and (c) two relate to Defendants’

  unsuccessful negotiations over a new trackage rights agreement, which resulted in NS initiating

  an action with the STB to set a new trackage fee.19 None of these communications show that

  Defendants entered into a conspiratorial agreement to harm CSX.

         The rest of the communications cited by CSX are predominately between NS employees,

  which cannot support a conspiracy. See Fox v. Deese, 234 Va. 412, 428 (1987) (“[A] single entity

  cannot conspire with itself.”). This is true even for internal communications that include NS

  employees serving on the NPBL board, as these are not communications with NPBL because the

  directors are not agents of NPBL unless they are acting collectively as NPBL’s board. See

  Monacan Hills, Inc. v. Page, 203 Va. 110, 116 (1961). Even “[a] majority of [directors], in their

  individual names, cannot act for the board itself and bind the corporation.” Mosell Realty Corp.

  v. Schofield, 183 Va. 782, 793 (1945). Indeed, CSX does not consider its internal communications,

  which include CSX-appointed NPBL Board members, to be communications with NPBL. It

  withheld such communications as privileged, which it could not do if the communications included

  representatives of NPBL. (Ex. 104, Privilege Log Excerpt).

         Because there is no evidence of an agreement, NS is entitled to summary judgment on

  CSX’s state law conspiracy claims. See DAG Petroleum Suppliers L.L.C. v. BP P.L.C., 452 F.



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     The Court previously found that CSX’s state law conspiracy claims were not time-barred based
  on CSX’s allegation that in 2018, Defendants entered into “a new agreement to increase the amount
  [NPBL] pays to NS[R] to access NS[R]’s tracks to NIT.” (ECF No. 66, at 39-40). However, there
  is no agreement between Defendants regarding the trackage fee; NS filed a petition with the STB
  seeking to set a trackage fee that is higher than NPBL is willing to accept. (SOF ¶¶ 73-74).


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  Supp. 2d 641, 650 (4th Cir. 2006) (“Where a plaintiff offers no evidence of an agreement or an

  intent to injure, summary judgment of a business conspiracy claim is proper.”). Similarly, because

  CSX’s “evidence” of conspiracy is equally consistent with unilateral action, it is deficient as a

  matter of law for CSX’s federal conspiracy claims. See Thompson Everett, Inc. v. Nat’l Cable

  Advert., L.P., 57 F.3d 1317, 1325 (4th Cir. 1995) (where claimed injury was caused by “the

  independent decision” of each defendant not to deal with plaintiff in its preferred manner, failure

  to prove conspiracy mandated summary judgment in defendants’ favor).

         B.      CSX cannot prove that trade was restrained unreasonably.

         Even if CSX were able to prove the existence of a conspiracy (which it cannot), summary

  judgment in defendants’ favor on Count I (Section 1 Sherman Act antitrust conspiracy) is

  independently warranted because CSX cannot prove that any such agreement restrained trade

  unreasonably. See Cont’l Airlines, 277 F.3d at 508 (15 U.S.C. § 1 prohibits only “unreasonable”

  restraints of trade (citing Standard Oil Co. v. United States, 221 U.S. 1, 58 (1911)).

         CSX contends that defendants’ alleged agreement is a “per se [Sherman Act] violation,”

  (Compl. ¶ 81)—that is, a type of agreement that almost “always or almost always tend to restrict

  competition and decrease output,” AmEx, 138 S. Ct. at 2283 (citation omitted), and does not require

  further inquiry into the agreement’s competitive effects. But only a “small group of restraints,”

  primarily agreements on price or output between horizontal (head-to-head) competitors, are

  classified as per se unlawful. Id. The “prevailing standard” for analyzing the reasonableness of

  Section 1 restraints is the so-called “rule of reason,” which requires the court to conduct a fact-

  specific assessment of market power and market structure to assess the restraint’s actual effect on

  competition. Cont’l T.V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 49 (1977); see also Copperweld

  Corp. v. Independence Tube Corp., 467 U.S. 752, 768 (1984).

         Here, NS and NPBL are not horizontal, head-to-head competitors. CSX’s own executives


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  acknowledge that NPBL is not a direct competitor to CSX, and CSX has not bid against NPBL as

  CSX competes for business. (SOF ¶ 4). Similarly,




         Instead, NS and NPBL are in a vertical relationship. The legal standard for evaluating the

  lawfulness of vertical agreements is the “rule of reason” standard. See Leegin Creative Leather

  Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 907 (2007); see also Bus. Elecs. Corp. v. Sharp Elecs.

  Corp., 485 U.S. 717, 735-36 (1988) (“[A] vertical restraint is not illegal per se unless it includes

  some agreement on price or price levels.”); cf. Dickson, 309 F.3d at 204-12, 216 (applying rule of

  reason, rejecting two separate vertical conspiracies and affirming summary judgment in

  defendants’ favor); R.J. Reynolds Tobacco Co. v. Philip Morris USA, Inc., 67 F. App’x 810, 811-

  12 (4th Cir. 2003) (per curiam) (affirming that district court’s application of the rule of reason

  when assessing a non-price vertical restraint).

         The rule of reason requires the court to conduct a fact-specific assessment of market power

  and market structure to assess the restraint’s actual effect on competition in a properly defined

  relevant market. Cont’l T.V., Inc. v. GTE Sylvania, Inc., 433 U.S. 36, 49 & n.15 (1977); see also

  Copperweld Corp. v. Independent Tube Corp., 467 U.S. 752, 768 (1984). As explained in Section

  II.A, supra, CSX cannot demonstrate a significant anticompetitive effect because it cannot prove

  the existence of a properly defined relevant market. And as explained in Sections II.B.3, supra,

  the undisputed evidence shows that there has been no substantial anticompetitive effect flowing

  from the complained-of restraint.

         C.      CSX cannot show any overt act in furtherance of the conspiracy.

         CSX also cannot show any overt act in furtherance of the purported conspiracy (as required

  by Counts II, VIII, and IX) for the multiple reasons discussed in Section IV, infra: (a) Defendants


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  did not block CSX’s access to NIT in 2015; (b) there was no vote on the 2018 Rate Proposal; and

  (c) NS was within its rights to vote against the Governance Proposal. See Hechler Chevrolet, 230

  Va. at 402 (“There can be no conspiracy to do an act which the law allows.”).

         Further, CSX’s state law conspiracy claims fail because they lack the requisite underlying

  tort. See Dunlap v. Cottman Transmission Sys., LLC, 287 Va. 207, 215 (2014) (“[A]ctions for

  common law civil conspiracy and statutory business conspiracy lie only if a plaintiff sustains

  damages as a result of an act that is itself wrongful or tortious.”). CSX’s tortious interference

  claim was dismissed, (ECF No. 66), and NS’s alleged breach of the Operating Agreement is

  insufficient. See Station # 2, 280 Va. at 174 (holding that breach of contract does not “rise to the

  level of an ‘unlawful act’ under [Va.] Code [Ann.] § 18.2-500”). That only leaves CSX’s breach

  of fiduciary duty claim against certain directors of NPBL, who have been dismissed as parties

  (ECF Nos. 143, 159). Further, the NPBL board took no action regarding CSX’s use of NPBL in

  2015 or CSX’s 2018 proposals. Hence, even if CSX could still rely on its fiduciary duty claim, it

  cannot show any breach of the directors’ duties.

  IV.    NS IS ENTITLED TO SUMMARY JUDGMENT ON CSX’S BREACH OF
         CONTRACT CLAIM.

         In Count 5, CSX claims that NS breached its obligations under NPBL’s Operating

  Agreement by (1) “effectively blocking CSXT’s access to NS’s trackage over which the NPBL

  has rights,” (2) “by refusing to consider proposals that would improve the revenues of the NPBL,”

  (3) “by failing to encourage the business of the NPBL,” and (4) “by inducing its employees and/or

  the Individual Defendants to vote for measures that are harmful to [the] NPBL.” (Compl. ¶ 107).

         To prevail on a breach of contract claim, CSX must demonstrate that NS had a legally

  enforceable obligation to CSX, that NS materially breached that obligation, and that NS’s breach

  caused CSX damages. See Filak v. George, 267 Va. 612, 619 (2004); see also Horton v. Horton,



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  254 Va. 111, 116 (1997). CSX cannot meet any all of these elements.20

         Pre-2014 actions cannot be the basis for CSX’s contract claim because they are time-

  barred. See Part A.1. supra. That leaves only (1) NPBL’s use of NS’s tracks in 2015, and (2) the

  alleged refusal to consider CSX’s 2018 demands as possible bases for the claim. NS, however,

  never blocked CSX’s access in 2015. Nor does NS have a contractual obligation to accept, or even

  consider, CSX’s 2018 demands for a special rate or new governance structure.

         A.     NS never blocked CSX’s access to NIT in 2015.

         It is undisputed that (a) NPBL moved every intermodal train CSX asked it to move in 2015;

  (b) NS provided operating windows for NPBL to use NS’s track to NIT for each of the movements;

  and (c) CSX has not asked NPBL to move intermodal freight to or from NIT since 2015. (SOF

  ¶¶ 63-64, 66). In fact, NPBL, CSX, VIT, and NS developed a workable operating plan that

  provided a twice-a-week operating window for NPBL to use NS’s tracks to move CSX’s

  intermodal trains to and from NIT. (SOF ¶ 65). Further, any contractual obligation that NS had

  regarding NPBL’s use of NS’s tracks to NIT is governed by the trackage rights agreement between

  NPBL and NS, not the Operating Agreement. Therefore, NPBL’s use of NS’s tracks in 2015

  cannot give rise to a contract claim under the Operating Agreement.

         B.     NS did not have a contractual duty to support CSX’s 2018 Rate Proposal.

         CSX cannot claim that NS breached the Operating Agreement by not considering the 2018

  Rate Proposal because, per CSX, only NPBL management, not the NPBL board or its shareholders,

  should have acted on its proposal. (SOF ¶ 57). Nor can CSX claim a breach based on NS’s




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    CSX cannot show damages resulting from NS’s conduct as will be explained in a forthcoming
  Daubert motion.


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  purported failure to consider the proposal when CSX never sought a vote on it. (SOF ¶ 60).21

            Moreover, NS did not have a contractual obligation to accept CSX’s 2018 Rate Proposal

  because it sought a special switch rate, inconsistent with the Operating Agreement’s requirement

  that NPBL charge a “uniform rate for the movement of freight cars.” (SOF ¶ 42). NS has the right

  to require adherence to the Operating Agreement’s uniform rate provision. See id. Nor does the

  provision in the Operating Agreement requiring the shareholders to “co-operate cordially in

  encouraging the business of [NPBL]” save CSX’s contract claim. This is an obligation to

  encourage the business of NPBL, not CSX. Therefore, NPBL, not CSX, would be the proper party

  to claim damages caused by a breach of the obligation. Because CSX is not seeking to recover

  damages on behalf of NPBL, it cannot rely on this provision of the Operating Agreement. (Compl.

  ¶ 108 (alleging harm to CSX (emphasis added))).

            Moreover, this provision cannot be read to trump the uniform rate provision because doing

  so would violate the basic principle that no terms in a contract should be treated as meaningless.

  See Ames v. Am. Nat’l Bank of Portsmouth, 163 Va. 1, 39 (1934) (“No word or clause is to be

  treated as meaningless if any reasonable meaning consistent with the other parts of the contract

  can be given to it. . . .”). It is easy to see how these provisions work together. CSX can pay the

  uniform $210 switch rate to have NPBL move its intermodal freight, which, contrary to CSX’s

  drayage program, encourages the business of NPBL. If the additional business results in excess

  profits for NPBL, then, consistent with the Operating Agreement, NPBL can reduce its switch

  rate.22


  21
       This is likely because CSX’s proposal was merely a pretext to setup litigation.


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    CSX got the contractual procedure backwards for reducing the switch rate. NPBL must set a
  uniform rate to (1) cover costs and (2) provide a six percent dividend to shareholders. See


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         C.      NS had no contractual obligation to change NPBL’s governance.

         CSX’s Governance Proposal demanded that NS agree to (a) equal representation on the

  NPBL board for CSX and NS; (b) the election of independent directors and officers for NPBL;

  and (c) adopt an ethics compliance program for NPBL. Under Section 2 of the Supplemental

  Agreement, however, NS has the right to appoint its three representatives to the NPBL Board.

  Further, there is no requirement that any of NPBL’s directors or its management be independent

  of its shareholders, and NPBL already maintained a code of ethics and conflicts of interest

  standards. (SOF ¶ 61). Thus, NS properly exercised its shareholder right to vote down CSX’s

  Governance Proposal. CSX cannot use litigation to rewrite NPBL’s agreed corporate structure.

         In summary, NS is entitled to summary judgment on CSX’s breach of contract claim

  because the record confirms that (1) NS did not block CSX’s access to NIT, (2) NS did not have

  an obligation to consider the proposals, (3) there was no vote on the rate proposal, and thus (4) NS

  did not “fail to encourage” the NPBL’s business.

                                           CONCLUSION

         For the foregoing reasons, NS respectfully requests that the Court grant NS’s Motion for

  Summary Judgment against CSX and grant any other relief the Court deems appropriate.

  Date: April 12, 2021                        Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on April 12, 2021, I electronically filed a copy of the foregoing with

  the Clerk of Court using the CM/ECF system, which sent a notification of such filing (NEF) to the

  registered participants as identified on the NEF to receive electronic service, including:

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